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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

FITNESS ANYWHERE LLC
                                                    Case No. 20-cv-04916
               Plaintiff,
                                                    Judge John J. Tharp, Jr.
v.
                                                    Magistrate Judge Jeffrey I. Cummings
HOTBUY88 STORE, et al.

               Defendants.



                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on October 23, 2020 [46], in

favor of Plaintiff Fitness Anywhere LLC (“Plaintiff”) and against the Defendants Identified in

Schedule A in the amount detailed in the chart below (“Judgment Amount”), and Plaintiff

acknowledges payment of an agreed upon damages amount, costs, and interest and desires to

release this judgment and hereby fully and completely satisfy the same as to the following

Defendant:

        Defendant Name                  Judgment Amount                      Line No.
        workforcustomer                     $14,055                             61

       THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendant is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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Dated this 13th day of November 2020.   Respectfully submitted,

                                        /s/ Jake M. Christensen
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